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              EXHIBIT 5
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                                                                            Page 287
               IN THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

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     IN RE:   PHARMACEUTICAL INDUSTRY:

     AVERAGE WHOLESALE PRICE         :   MDL No. 1456

     LITIGATION                      :

                                     :   Master File No.

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     This Document Relates To:       :

     United States of America, ex re:    Subcategory No.

     Ven-A-Care of the Florida Keys,:    06-CV-11337-PBS

     Inc., v. Abbott Laboratories,   :

     Inc., Civil Action No.          :

     06-11337-PBS                    :

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                      Williamsburg, Virginia

                      Wednesday, April 15, 2009



     Videotaped deposition of LOUIS F. ROSSITER, Ph.D.

                        VOLUME II




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                                           Page 500                                                   Page 502
 1   purchase or referral of the program business. In    1   based upon AWPs where the manufacturer had
 2   other words, it is illegal for a manufacturer       2   knowingly established them or inappropriately
 3   knowingly to establish or inappropriately maintain 3    maintained them with a purpose to manipulate the
 4   a particular AWP if one purpose is to manipulate    4   spread and to induce customers to purchase its
 5   the spread to induce customers to purchase its      5   products, and I said was that okay with you when
 6   product?                                            6   you were Secretary of Health and Human Resources.
 7      A. Yes.                                          7          THE WITNESS: Well, of course not. But
 8      Q. Do you see that?                              8   there's a difference between -- by the same token,
 9      A. Yes.                                          9   it's not illegal to increase the price of your
10      Q. Now, I'm going to ask you this question,     10   drug.
11   when you were the Secretary of Health and Human 11      BY MR. BREEN:
12   Resources for the State of Virginia after you      12       Q. Professor, I didn't say it was. I'm
13   under oath swore to uphold the law, from your      13   asking you if it was okay with you if Abbott
14   perspective were drug manufacturers permitted to 14     Laboratories lowered its price of Vancomycin down
15   report prices that caused AWPs to be reported to   15   to four dollars and at the same time said they
16   the State of Virginia that were such that one --   16   were increasing it from 18 to 36 in their AWP in
17   that the manufacturer knowingly established or     17   order to induce its customers to buy its Vanco
18   inappropriately maintained a particular AWP for    18   rather than its competitors', and then they
19   the purpose to manipulate the spread to induce     19   reported those prices and caused First DataBank to
20   customers to purchase its product. Was that okay 20     publish AWP to your state, so your state paid more
21   with you, when you were Secretary of Health and 21      for the Abbott Vancomycin. I'm asking you if that
22   Human Resources?                                   22   was okay with you when you were Secretary?
                                           Page 501                                                   Page 503
 1          MR. BERLIN: Objection to form.               1           MR. BERLIN: Objection. Form.
 2          MR. BREEN: If they did that.                 2           THE WITNESS: It was okay with me when I
 3          THE WITNESS: There are lots of words in      3   was Secretary for pharmaceutical manufacturers to
 4   there. One is knowingly, the other was              4   adjust their prices, and they did. I have a
 5   inappropriately, both of those words require        5   report on the very subject.
 6   definition. And here comes my volume point, I'm     6           MR. BREEN: Move to strike that as
 7   sorry, it's my having handled some of these         7   nonresponsive. My question was not if it was okay
 8   regulations, it's my understanding, is that         8   to increase the prices. My question was, was it
 9   they're inducing customers to purchase its          9   okay for Abbott to report prices that caused their
10   product. There's a lot that goes into              10   AWP to go up to over $50 when in fact their prices
11   interpreting that and furthermore documenting it,  11   fell to under 5?
12   and moreover having a preponderance of the         12           MR. BERLIN: Objection. Form.
13   evidence that would prove it.                      13           MR. BREEN: In order to induce
14   BY MR. BREEN:                                      14   purchases.
15      Q. So does that mean it was okay with you       15           MR. BERLIN: Same objection.
16   because it may be hard to prove it?                16           MR. BREEN: I'm asking you if that was
17      A. That means --                                17   okay when you were Secretary of Health and Human
18          MR. BERLIN: Objection. Form.                18   Resources.
19          MR. BREEN: Well, my question was, back 19                MR. BERLIN: Same objection. I didn't
20   when you were the Secretary of Health and Human 20      mean to step on your question. Sorry.
21   Resources for the State of Virginia, was it okay   21           THE WITNESS: Virginia used AWP list
22   with you if your state Medicaid program reimbursed 22   price as its policy for the beginning of
                                                                             55 (Pages 500 to 503)
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